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                        THUNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



Roque “Rocky” De la Fuente, and
Rocky 2016 LLC,
                                                 Civil Action No. 1:18-cv-00336-RC
                    Plaintiffs,

      v.

DNC Services Corporation d/b/a
Democratic National Committee, and
Deborah Wasserman Schultz,

                    Defendants.


     DEFENDANTS’ MOTION TO DISMISS COMPLAINT AND STATEMENT OF
                 POINTS AND AUTHORITIES IN SUPPORT
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       Defendants DNC Services Corporation d/b/a Democratic National Committee and its

former chairperson U.S. Congresswoman Deborah Wasserman Schultz (together, “Defendants”

or the “DNC”), 1 respectfully move to dismiss the Complaint, filed by Roque “Rocky” De La

Fuente (“De La Fuente”) and Rocky De La Fuente 2016’s presidential campaign (the “De La

Fuente Campaign”) (collectively, “Plaintiffs”), 2 with prejudice, under Rule 12(b)(6) of the

Federal Rules of Civil Procedure. In addition, Count I of the Complaint should separately be

dismissed for lack of standing, pursuant to Rule 12(b)(1). Finally, Plaintiffs’ racial

discrimination claim (Count III) is based in large part on a claim that has already been litigated

before, and rejected by, a federal court, raising issue preclusions issues. In support of their

Motion, Defendants submit as follows.

                                    I.      INTRODUCTION
       Plaintiffs pursue novel legal theories that are unsupported by precedent and, in the

particular context in which they arise—i.e., in an action by an unsuccessful political candidate

against the political party committee with whom that candidate self-identifies—would run

contrary to the First Amendment. Boiled down to its most basic, De La Fuente’s argument is that

his failure to mount a successful presidential campaign was the result of a vaguely outlined

conspiracy orchestrated by the Defendants. This theme permeates the Complaint, which fails to

make concrete or plausible allegations that could, as a matter of law, give rise to liability. 3 The

1
  Each of the claims in the Complaint are alleged against both the DNC and Congresswoman
Wasserman Schultz, and all are based on conduct that Plaintiffs contend took place during the
Congresswoman’s tenure as Chairperson of the DNC. Compl., ECF No. 1 at ¶ 8. Thus, the
motion addresses the claims against the Defendants as they are pled, collectively. Generally
speaking, Plaintiffs’ claims fail all the more so as against the Congresswoman in that the
Complaint fails to plead facts plausibly stating any claims against her (e.g., that she entered into
any type of contract).
2
  De La Fuente brings this lawsuit “pro se” on behalf of himself and the De La Fuente
Campaign. “Although a plaintiff may appear pro se on his own behalf, he may not represent
other pro se plaintiffs in federal court.” Ali v. U.S. Parole Comm’n, No. CIV.A.06 0235(RCL),
2007 WL 902312, at *4 (D.D.C. Mar. 23, 2007); see also 28 U.S.C.A. § 1654. Thus, the claims
brought by the Campaign are also separately subject to dismissal on this basis.
3
  The Complaint borrows heavily from a similar action filed earlier this year also in the U.S.
District Court for the District of Columbia, Wilson v. DNC Services Corp., Case No. 1:17-cv-
00730-TNM (filed Jan. 2, 2018), 2d Am. Compl., ECF No. 25. In fact, De La Fuente’s
Complaint includes several of the same claims and allegations asserted in the Wilson complaint,



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DNC denies any inappropriate conduct in the 2016 presidential election, but even viewing the

Complaint in the light most favorable to Plaintiffs, as is appropriate in the context of a motion to

dismiss, Plaintiffs have failed to plead facts sufficient to maintain this litigation.

        First, Plaintiffs seek to expand the boundaries of existing contract law well beyond

precedent, asking the Court to recognize a binding contractual relationship between a candidate

and a political party based upon the candidate’s unilateral decision to run for office and the

existence of internal political party rules voluntarily adopted by the party long before Plaintiffs

sought the presidency. Dismissal is appropriate not only because of black letter contract law, but

also because of the serious First Amendment issues that would arise if such an action could be

maintained. Plaintiffs also fail to allege a sufficient basis for standing to pursue this claim.

Second, Plaintiffs’ promissory estoppel claim cannot be maintained, because the “promises” that

Plaintiffs claim gave rise to legally enforceable obligations are, at best, vague and undefined and,

as such, not cognizable. Third, Plaintiffs’ Section 1981 claim must be dismissed because it is

based on entirely speculative and conclusory allegations. Indeed, a federal court has already

rejected substantially similar claims by De La Fuente in litigation brought against a state

Democratic party during the course of the 2016 presidential campaign. Thus, the doctrine of

issue preclusion also weighs in favor of dismissing this claim. Fourth, Plaintiffs’ Section 1985

claim must be dismissed because the Complaint fails to plausibly allege any conspiracy

involving civil rights. Finally, Plaintiffs’ fraud and negligent misrepresentation claims (which

identify no statements that Plaintiffs could reasonably rely upon as a matter of law) should be

dismissed because they are neither plausible nor pled with particularity, as required by Rule 9(b).

        Because Plaintiffs have not asserted any cognizable claims, and because any further

amendment would be futile, Defendants move for dismissal with prejudice.




often word-for-word. The Wilson case is pending on a motion to dismiss. See Mot. to Dismiss
Pls.’ 2d Am. Compl., ECF No. 26.



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                                      II.     BACKGROUND 4
          De La Fuente is a resident of California, “a successful Mexican-American entrepreneur,

businessman and real estate developer.” Compl., ECF No. 1 at ¶ 5. On October 1, 2015, the

Federal Elections Commission (“FEC”) formally accepted the registration of the De La Fuente

Campaign for the office of President of the United States. Id. at ¶ 24. 5 The Statement of

Candidacy filed with the FEC indicated that De La Fuente’s party affiliation was Democratic. Id.

at ¶ 9.

          In December 2015, Plaintiffs sent a letter to the DNC, stating that De La Fuente intended

to seek the Democratic Party’s nomination for President, and that Plaintiffs had registered with

the FEC. Id. The letter “sought campaign support and general information on the Democratic

Party’s nominating process.” Id. at ¶ 13. The Complaint alleges that the DNC’s then-CEO Amy

Dacey responded and “provided Plaintiffs [with] the Rules on Delegate Selection, the Delegate

Allocation Chart and promised to provide assistance . . . through introductions to State Party

officials, logistical resources, and general political assistance for his Presidential campaign.” Id.

at ¶ 15. The Complaint does not provide further details about these communications or the

purported promises that Plaintiffs allege they contained. Nevertheless, De La Fuente claims that

he “expressly relied on Ms. Dacey’s promises and representations in moving forward with his

Presidential campaign and [his] personal expenditure of $6,690,522.37 on his 2016 Democratic

Presidential nomination campaign.” Id. ¶ 16.

          The Complaint alleges that, “[d]espite [his] relatively late entry into” the race, De La

Fuente attained “sufficient grass-roots support to appear on the primary and/or caucus ballots in

36 states and territories.” Id. at ¶ 17. It is not clear from the Complaint how long De La Fuente

campaigned or precisely what Plaintiffs did to further De La Fuente’s campaign for President,

but, ultimately, his bid for the Democratic nomination was not successful. His best performance


4
  Except where otherwise noted, the facts recited here are the facts as alleged in the Complaint,
accepted as true only for the purposes of this motion to dismiss.
5
  The Complaint cites to various exhibits purportedly filed in support of its allegations, but no
exhibits were attached to the Complaint as filed. See generally ECF No. 1.



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was in Delaware, where he received 1.09% of the vote; in all of the other states where he

appeared on the ballot he received less than 1% of the vote. See Declaration of Elisabeth C. Frost

In Supp. of Mot. to Dismiss (“Frost Decl.”), Ex. A, FEC, Federal Elections 2016 at 47-68

(updated Dec. 2017).6 In June 2016, De La Fuente established the American Delta Party, after

which he pursued and received the Reform Party’s nomination in August 2016. See Frost Decl.,

Ex. B, Press Release, The Reform Party, The Reform Party Nominates Roque De La Fuente and

Returns to Form (Aug. 9, 2016).

       During the course of his bid for the 2016 Democratic nomination for president, De La

Fuente sued the South Carolina Democratic Party (the “SCDP”) “seeking declaratory and

injunctive relief . . . [that] the decision of the [SCDP] not to include him on the list of approved

candidates to appear on the Presidential Primary Ballot [in South Carolina] was ‘unconstitutional

and violative of the 14th Amendment to the United States Constitution and violates 42 U.S.C.

2000d et seq.’” De La Fuente v. S.C. Democratic Party, No. 3:16-CV-00322-CMC, 2017 WL

3085750, at *1 (D.S.C. July 20, 2017) (quoting complaint). At issue in that case was the decision

of the SCDP not to include De La Fuente on South Carolina’s primary ballot as a Democratic

candidate for President based on its conclusion that De La Fuente “did not have nationwide

recognition as a viable presidential candidate, and had not campaigned in South Carolina.” Id.

The SCDP also declined to certify “[a]t least one other candidate” for certification on the ballot

that year: “Lloyd Kelso, a Caucasian from North Carolina[.]” Id. De La Fuente argued that his

exclusion was a violation of due process, and that the SCDP had discriminated against him on

the basis of national origin, in violation of the Civil Rights Act and the Fourteenth Amendment.

Id. at *2. The court rejected both claims, granting the SCDP’s motion for summary judgment.

6
  The Court may take judicial notice of the results of the Democratic presidential primaries,
including De La Fuente’s performance in states where he appeared on the ballot. See United
States v. Philip Morris USA, Inc., No. CIV.A.99-2496(GK), 2004 WL 5355971, at *1 (D.D.C.
Aug. 2, 2004) (“Judicial notice may be taken of historical, political, or statistical facts, or any
other facts that are verifiable with certainty.”). Defendants cite this and a handful of other facts
of which the Court may take judicial notice not because the Court need rely upon these facts in
order to grant the motion to dismiss, but rather to provide useful context and to illustrate why, in
this particular case, the circumstances are such that amendment would be futile.



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       First, the court found that it was well established that there is a legitimate right “‘to

restrict access to primary ballots . . . as a . . . means of preventing candidates who have not even

a minimal degree of voter support from appearing on the ballot,” so as to “reduce[] waste and

confusion by excluding . . . frivolous candidates.”” Id. (quoting Anderson v. Celebrezze, 460

U.S. 780, 78-89, n.9 (1983)). The court further found that, in De La Fuente’s case, “[i]t is

undisputed that [he] had no actual, non-electronic presence in South Carolina,” and even then,

his only contact with the state was “through a Facebook page—one not even directed specifically

at South Carolina, but a general campaign page.” Id. at *3. Indeed, he “testified at deposition

[that] he had only been to South Carolina four times in conjunction with his 2016 presidential

campaign—two of which were his court and deposition appearances for this case[.]” Id. at *3. He

further “conceded he had no endorsements by elected officials or clergy in South Carolina and

did not distribute any printed campaign materials in South Carolina[.]” Id. The court further

found that the SCDP’s conclusion that De La Fuente also lacked national visibility was not

arbitrary, given that De La Fuente was unable to point to a single news article that “indicate[d]

[he] was actually a viable candidate for President.” Id. at *4.

       As for De La Fuente’s discrimination claim, it was remarkably similar to the one that he

alleges in the instant case: specifically, De La Fuente argued that “SCDP denied his request to be

on the ballot because of the ‘political and electoral threat that plaintiff’s Hispanic heritage posed

to Hillary Clinton.’” Id. (quoting plaintiff’s brief). However, the court found that De La Fuente

“offer[ed] no factual support for this claim other than an assertion in his deposition [that] SCDP

discriminated against him because he is Hispanic, and offers as evidence the prior outcomes of

elections.” Id. Finding this clearly insufficient to succeed on his intentional discrimination

claims, the court granted summary judgment to the SCDP on this issue, as well. Id.

       On February 20, 2018, nearly a year and a half after the July 2016 Democratic National

Convention at which hundreds of Democratic delegates from all over the country convened in

Philadelphia to select the party’s 2016 presidential nominee, and over a year after the 2016

General Election, Plaintiffs filed the instant Complaint, which sets forth De La Fuente’s theory



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as to why he was not successful in his attempt to obtain the Democratic nomination, for which he

blames Defendants. To this end, he alleges six counts: (1) breach of “implied-in-fact” contract

(Count I, Compl. ¶¶ 88-95), (2) promissory estoppel (Count II, Compl. ¶¶ 96-104), (3) race

discrimination (Count III, Compl. ¶¶ 105-117), (4) civil conspiracy (Count IV, Compl. ¶¶ 119-

125), (5) fraud (Count V, Compl. ¶¶ 125-32), and (6) negligent misrepresentation (Count VI,

Compl. ¶¶ 133-141).

        Plaintiffs seek “[c]ompensatory damages in an amount in excess of $6,000,000 . . . but in

no event less than all amounts expended by Plaintiffs in pursuit of the 2016 Democratic Party

Presidential nomination,” “[p]unitive damages” of “no … less than $1,000,000,” Plaintiffs’ costs

and “reasonable” attorney fees, undefined “[a]ppropriate equitable relief,” and any other relief

the Court deems necessary. Id. at 45.

                                III.    STANDARD OF REVIEW

        To survive a motion to dismiss under Rule 12(b)(6), a complaint “must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570

(2007)). Plaintiffs must “plead[] factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S.

at 556). Though “[t]he factual allegations in the complaint need not be ‘detailed,’” a complaint

cannot survive a motion to dismiss if it simply asserts “‘unadorned, the-defendant-unlawfully-

harmed-me accusation[s].’” Lagayan v. Odeh, 199 F. Supp. 3d 21, 26 (D.D.C. 2016) (quoting

Iqbal, 556 U.S. at 678). Courts need only accept well-pleaded, factual allegations as true—

construing them in the light most favorable to the non-moving party—but the same courtesy does

not extend to statements of law, “mere conclusory statements,” or “[t]hreadbare recitals of the

elements of a cause of action, supported by mere conclusory statements.” Iqbal, 556 U.S. at 678

(citing Twombly, 550 U.S. at 555).

        “Under Rule 12(b)(1), the plaintiff bears the burden of establishing that the court has

jurisdiction.” Grand Lodge of Fraternal Order of Police v. Ashcroft, 185 F. Supp. 2d 9, 13



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(D.D.C. 2001) (citation omitted); see also Lifeline, Inc. v.Bakari, 107 F. Supp. 3d 38, 39 (D.D.C.

2015) (“[A] court should begin with a presumption that a case lies outside this jurisdiction.”)

(citing Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)). Federal courts are

limited to adjudicating “cases” and “controversies.” U.S. Const. art. III, § 2. Central to that

requirement is standing. To avoid dismissal on standing grounds, a plaintiff must show that (1)

he has “suffered some actual or threatened injury as a result of the putatively illegal conduct of

the defendant,” (2) the injury “fairly can be traced to the challenged action,” and (3) the injury

“is likely to be redressed by a favorable decision.” Valley Forge Christian Coll. v. Am. United

for Separation of Church & State, Inc., 454 U.S. 464, 472 (1982); see also Lujan, 504 U.S. at

560-561. Failure to allege any of these elements leaves a plaintiff without standing, and the court

without jurisdiction. See Cierco v. Mnuchin, 857 F.3d 407, 419 (D.C. Cir. 2017).

                                        IV.      ARGUMENT
        The Complaint must be dismissed in its entirety because it fails to allege any facts that

entitle Plaintiffs to relief as a matter of law, on any of the claims that it asserts.

A.      Count I (Breach of Implied Contract) Should Be Dismissed.
        Plaintiffs assert two novel theories, neither of which can sustain their claim for breach of

implied contract beyond a motion to dismiss. First, Plaintiffs incorrectly and absurdly suggest

that an implied contract is created every time an individual decides to run for office in a political

party’s primary and the party provides him with corresponding standard information. See

Compl., ¶ 54. Second, Plaintiffs allege that an implied contract of “neutrality” arose between

them and the DNC as a result of Plaintiffs’ “awareness” of Article 5, Section 4 of the DNC

Charter, which provides that the Chairperson of the DNC “shall exercise impartiality and

evenhandedness as between the Presidential candidates and campaigns …. during the

Democratic Party Presidential nominating process.” Id. at ¶¶ 28, 31, 32, 34. Both theories

conflict with basic requirements of contract law and cannot be sustained as a matter of law.

Moreover, serious First Amendment concerns would arise if either were to be recognized as




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actionable. Further, Plaintiffs fail to allege facts which, even if true, could establish a basis for

standing to pursue this claim.

        1.       Plaintiffs Fail to Plausibly Allege that an Implied Contract Existed between
                 the Parties.
        Plaintiffs’ breach of contract claim fails for a simple and basic reason: the Complaint

does not plead facts, which, if true, could establish an implied contract between Plaintiffs and the

DNC as a matter of law. An implied-in-fact contract, which is a contract that is not written, nor

expressed orally, but is inferred from the conduct of the parties in light of the circumstances,

must contain all necessary elements of a binding agreement. See Steuart Inv. Co. v. The Meyer

Grp., Ltd., 61 A.3d 1227, 1233 (D.C. 2013) (citing Vereen v. Clayborne, 623 A.2d 1190, 1193

(D.C. 1993)). Specifically, it must contain: (1) [an] agreement as to all material terms; and (2)

[an] intention of the parties to be bound. United House of Prayer for All People v. Therrien

Waddell, Inc., 112 A.3d 330, 337-38 (D.C. 2015) (quoting Georgetown Entm’t Corp. v. D.C.,

496 A.2d 587, 590 (D.C. 1985)). Further, under D.C. law, an implied contract must contain four

additional elements: (1) that valuable services were rendered, (2) to the person from whom

recovery is sought, (3) which services were accepted by that person, and (4) under such

circumstances as reasonably notified the person that the plaintiff expected to be paid by that

person. See Perles v. Kagy, 362 F. Supp. 2d 195, 198 (D.D.C. 2005), aff’d in part, vacated in

part on other grounds 473 F.3d 1244 (D.C. Cir. 2007) (citing Vereen, 623 A.2d at 1193).

        Plaintiffs’ breach of implied contract claim fails because the Complaint: (1) does not

plausibly allege that there was agreement between the parties to all material terms of the

purported contract; (2) does not plausibly allege that the parties intended to be bound by those

terms; (3) does not allege, beyond mere conclusory allegations, that Plaintiffs have standing to

assert such a claim; and (4) does not plausibly allege the other required elements of an implied

contract under District of Columbia law.




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               a.      Plaintiffs Fail to Plausibly Allege that There Was Agreement Between
                       the Parties on Most Basic Material Terms of the Purported Contract.
       Plaintiffs’ breach of contract claim is insufficient as a matter of law, because they have

not plausibly alleged that there was agreement between them and the DNC on basic material

terms. It is a black letter rule of contract law that for a breach of contract claim to be adequately

alleged, a complainant must clearly and plausibly allege what each of the parties to the contract

is bound to do. See Strauss v. NewMarket Glob. Consulting Grp., LLC, 5 A.3d 1027, 1033 n.3

(D.C. 2010) (describing rule that a court cannot enforce a contract unless it can determine what

parties have contracted to do); Rosenthal v. Nat’l Produce Co., 573 A.2d 365, 370 (D.C. 1990)

(describing “material terms” as “promises and performance to be rendered by each party”). 7
       The Complaint falls far short of providing any details of the purported contract, failing

even to plausibly allege the terms to which the parties agreed, much less clearly and plausibly

allege what the DNC purportedly failed to do. It is well-established that allegations of vague and

indefinite terms cannot give rise to an enforceable contract as a matter of law. See Ward v.

TheLadders.com, Inc., 3 F. Supp. 3d 151, 163 (S.D.N.Y. 2014) (holding phrase “terms and

conditions” was “vague” and “legally insufficient” to establish a contract); see also K St.

Developers, LLC v. Teachers Ins. & Annuity Ass’n of Am., 69 F. Supp. 3d 45, 54 (D.D.C. 2014)

(“The ‘material terms’ (such as subject matter, price, payment terms, and duration) must be

‘sufficiently definite’ so that each party can be ‘reasonably certain’ about what it is promising to

do or how it is to perform.”); In re U.S. Office Prods. Co. Sec. Litig., 251 F. Supp. 2d 58, 71

(D.D.C. 2003) (describing “material terms” as including “price, payment terms, duration, and the

identity of the parties involved”); Strauss, 5 A.3d at 1033 (finding agreement not binding when

party failed to prove material terms necessary for parties to understand how to perform the

contract); Stansel v. Am. Sec. Bank, 547 A.2d 990, 993 (D.C. 1988) (finding no enforceable

7
  Because Plaintiffs fail to plausibly allege any non-conclusory allegations linking their alleged
injury to the conduct of the DNC, they also have not established that they have standing to
pursue this claim. See Lagayan, 199 F. Supp. 3d at 26 (quoting Iqbal, 556 U.S. at 678); see also
Lujan, 504 U.S. at 560 (quoting Simon v. Eastern Ky. Welfare Rights Org., 426 U.S. 26, 41-42
(1976)) (requiring “the injury [] to be ‘fairly . . . trace[able] to the challenged action of the
defendant’”).



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contract where parties failed to offer “evidence of any specific terms of the alleged agreement,

such as the exact amount of the loans, the interest rates, terms of payment, or manner of

performance”). The Complaint falls far short on this front.

        First, the Complaint sets forth the vague allegation that the DNC was required to provide

“logistical assistance, guidance, [and] resources to [Plaintiffs],” but this is insufficiently specific

to support an implied contract claim. Compl., at ¶ 33. The Complaint fails entirely to specify

what it means by “guidance,” “logistical assistance,” or “resources,” all terms that could mean

any number of different things to different people. See Melott v. ACC Operations, Inc., No. 2:05-

CV-063, 2006 WL 1892656, at *5 (S.D. Ohio July 10, 2006) (holding “offer to assist” as

“vague” and insufficient to constitute a binding contract); see also Stansel, 547 A.2d at

993 (finding no enforceable contract where parties failed to offer “evidence of any specific terms

of the alleged agreement, such as the exact amount of the loans, the interest rates, terms of

payment, or manner of performance”); In re U.S. Office Prods., 251 F. Supp. 2d at 72 (requiring

“material terms” to “not be vague or indefinite”); Rosenthal, 573 A.2d at 369-370 (holding

material terms of a contract cannot be indefinite).

        Second, Plaintiffs allege that the DNC “promised Plaintiff De La Fuente that it would

introduce him to the political leadership in state Democratic Party committees,” but this also

does not allege a valid contractual term. Compl., at ¶ 49. As the D.C. Circuit has previously held,

such a “promise” cannot support an enforceable implied contract. See Bloomgarden v. Coyer,

479 F.2d 201, 209 (D.C. Cir. 1973) (holding no implied contract based on one party’s

introduction of two individuals, as an introduction would not “have put [anyone] on notice”

consideration was expected for such services).

        Third, Plaintiffs allege that a “significant DNC resource” provided to candidates “was

access to the DNC’s Voter Data File System,” Compl., at ¶ 58, but this allegation does not

support a claim for implied contract between the DNC and the Plaintiffs. Tellingly, the

Complaint sets forth no allegations that the DNC specifically promised Plaintiffs access to the

Voter Data File System. See generally id. If anything, it implicitly admits that no such promise



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was ever made. Id. at ¶ 61 (alleging the DNC “never responded to Plaintiff De La Fuente’s

request for access to the DNC Voter Data File”). The Complaint does not allege that either

Plaintiffs or the DNC made any mention of the DNC’s Voter File data in their correspondence.

Id. at ¶ 15. Plaintiffs’ allegations are plainly inadequate to support this claim. See, e.g., Ryan v.

BuckleySandler, LLP, 69 F. Supp. 3d 140, 147 (D.D.C. 2014) (granting motion to dismiss in

regards to alleged contract based on silence); William F. Klingensmith, Inc. v. D.C., 370 A.2d

1341, 1344 (D.C. 1977) (holding no contract due to silence).

       The Complaint’s allegation that the DNC breached its Charter by failing to act neutrally

also cannot support this claim, as a matter of law, not least of all because Plaintiffs fail to

plausibly allege that the DNC did not act impartially or neutrally. In support, the Complaint

cites: (1) a memorandum that was not authored by the DNC, Compl., at ¶¶ 64-71, (2) a quote by

a former DNC chair expressing disapproval of statements purportedly made about Senator

Bernie Sanders in unidentified DNC emails, see id. at ¶ 72, and (3) demonstrably false

allegations about a “secret” legal joint funding agreement, id. at ¶ 74 (see discussion infra). But

none of these allegations actually support Plaintiffs’ contention that the DNC did not act

impartially or neutrally in the primary process. For example, the allegation that an unidentified

individual or organization sent a memorandum to the DNC in May 2015 that “focused on the

general election campaign for Hillary Clinton,” is misplaced for several reasons, but most

obviously because the DNC was not the author and does not control what others send it. Id. at ¶

66. Similarly, a quote by a former DNC chair expressing disapproval of statements purportedly

made about Senator Sanders in an unidentified email, see id. at ¶ 72, is not a plausible basis upon

which the DNC could be found to have not acted with neutrality.

       As for Plaintiffs’ allegations that the DNC “secretly” entered into a joint funding

relationship with Secretary Clinton, that assertion is demonstrably false as a matter of public

record: the DNC publicly disclosed the existence of that joint fundraising committee in

disclosures filed with the FEC as early as September 18, 2015. See Frost Decl., Ex. C, DNC’s

Statement of Organization, FEC Form 1, at 3 (Sept. 18, 2015); see also Koker v. Aurora Loan



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Servicing, 915 F. Supp. 2d 51, 58 (D.D.C. 2013) (quoting Kaempe v. Myers, 367 F.3d 958, 965

(D.C. Cir. 2004)) (“[A]mong the documents ‘subject to judicial notice on a motion to dismiss’

are ‘public records.’”). Rank speculation cannot sustain a complaint beyond the motion to

dismiss stage.

        Plaintiffs’ attempt to build a breach of implied contract claim on the DNC Charter also

fails as a matter of law, because the Complaint does not sufficiently allege that Plaintiffs suffered

cognizable injury as a result of any alleged failure to comply with the Charter. Plaintiffs baldly

allege they suffered “great economic harm,” Compl., at ¶ 95, but fail to assert any non-

conclusory link between a purported failure to comply with the Charter and any harm allegedly

suffered by Plaintiffs, and therefore, do not have standing to assert this claim. See Lujan, 504

U.S. at 560 (requiring “the injury [] to be ‘fairly . . . trace[able] to the challenged action of the

defendant’”) (quoting Simon v. Eastern Ky. Welfare Rights Org., 426 U.S. 26, 41-42 (1976)).
Moreover, any allegation of political harm would not be a sufficient injury for standing purposes.

See, e.g., Johnson v. U.S. Office of Pers. Mgmt, 783 F.3d 655, 668-669 (7th Cir. 2015) (holding

that political harm “is insufficient to establish standing”); Schaffer v. Clinton, 240 F.3d 878, 886

(10th Cir. 2001) (same); see also Gottlieb v. Fed. Election Comm’n, 143 F.3d 618, 620, 621

(D.C. Cir. 1998) (holding no cognizable injury based on “suffer[ing] a diminution in [] ability to

influence the political process,” or a preferred candidate being placed at a disadvantage, because

such theories necessarily “rest[] on gross speculation and [are] far too fanciful to merit treatment

as an ‘injury in fact’”); West Virginia v. U.S. Dep’t of Health & Human Servs., 145 F. Supp. 3d

94, 103 (D.D.C. 2015) (holding “consequential harm in the form of increased or enhanced

‘political accountability’ is simply too abstract to support standing”) aff’d, 827 F.3d 81 (D.C.

Cir. 2016). Thus, this claim cannot survive a motion to dismiss under Rule 12(b)(1), either.

        The allegations as to what consideration Plaintiffs exchanged in reliance on the DNC’s

alleged promises are similarly vague, with the Complaint asserting only that Plaintiffs agreed to

be bound by unidentified “campaign conditions, rules, and regulations,” established by the DNC.

Id. at ¶ 39. However, the only “rules” and “regulations” that Plaintiffs identify are contained in



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Article 5, Section 4 of the Charter of the Democratic Party, but, as Plaintiffs implicitly

acknowledge by their allegations in the Complaint, that provision contains no contractually

enforceable obligations that could plausibly support Plaintiffs’ claim that an implied contract

existed. Rather, Section 4 discusses the responsibilities and compensation of the DNC’s national

Chairperson, with a general reference to expectations the DNC has of the Chairperson. See id. at

¶ 28 (“The National Chairperson shall serve full time and shall receive such compensation as

may be determined by agreement between the Chairperson and the Democratic National

Committee,” and, “[i]n the conduct and management of the affairs and procedures of the

Democratic National Committee … the Chairperson shall exercise impartiality and

evenhandedness as between the Presidential candidates and campaigns.”). This cannot logically

constitute terms to which Plaintiffs were bound.

       Thus, Plaintiffs’ breach of implied contract claim fails at the outset, because it does not

adequately clearly allege the material terms to which the parties purportedly agreed to be bound.

               b.      Plaintiffs Fail to Plausibly Allege that Either Party Intended to Be
                       Bound by a Contract.
       Plaintiffs’ breach of contract claim should also be dismissed because the facts alleged in

the Complaint do not plausibly support a finding that either party intended to be bound by an

implied contract. For an enforceable contract to exist, there must be an “intention of the parties to

be bound.” United House of Prayer, 112 A.3d at 337-38 (quoting Georgetown Entm’t, 496 A.2d

at 590). “The intentions of parties to a contract can be found from written materials, oral

expressions, and the actions of the parties.” Duffy v. Duffy, 881 A.2d 630, 637 (D.C. 2005).

       Here, there are no plausible allegations that the parties intended to be bound to an implied

agreement, as evidenced by the lack of allegations that the DNC and Plaintiffs even discussed,

much less agreed to, terms. Courts have granted motions to dismiss based on failure to plead

facts suggesting that the parties ever discussed their alleged obligations under a purported

contract. See Malone v. Saxony Co-op. Apartments, Inc., 763 A.2d 725, 729 (D.C. 2000) (‘“The

failure to agree on or even discuss an essential term of a contract may indicate that the mutual




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assent required to make or modify a contract is lacking.”’) (quoting Owen v. Owen, 427 A.2d

933, 937 (D.C. 1981)); see also BuckleySandler, 69 F. Supp. 3d at 147 (granting motion to

dismiss breach of contract claim due to alleged contract based on silence); William F.

Klingensmith, 370 A.2d at 1344 (holding no contract due to silence).

       The Complaint fails to plausibly allege that the DNC offered and Plaintiffs accepted

specific “terms and conditions” necessary for contract formation. See RDP Techs., Inc. v. Cambi

AS, 800 F. Supp. 2d 127, 141 (D.D.C. 2011) (“The Court must look closely at the parties’

intentions to determine whether there has been a meeting of the minds, and hence whether a

contract exists.”). For instance, where parties attach different meanings to a term, “and neither

party had reason to know of the meaning attached by the other, ‘neither party is bound by the

meaning attached by the other, even though the result may be a failure of mutual assent.’” PCH

Mut. Ins. Co. v. Cas. & Sur., Inc., 750 F. Supp. 2d 125, 145 (D.D.C. 2010) (quoting Restatement

(Second) of Contracts § 201(3) (1981)). Such is the case at hand: the DNC’s provision of

materials and offers of general assistance, without more, does not indicate an assent, shared with

De La Fuente, to specific terms and conditions. Rather, “[P]laintiff[s] seek[] to imply the

existence of a contract based on the mere fact that the parties … engaged in informal

discussions,” but “a reasonable person would not believe that such discussions manifested an

intent to be bound.” Equity Grp., Ltd. v. Painewebber Inc., 839 F. Supp. 930, 934 (D.D.C. 1993),

aff’d, 48 F.3d 1285 (D.C. Cir. 1995). Plaintiffs’ description of the DNC’s communications with

De La Fuente show only—at the very most—a subjective intent to be bound by De La Fuente.

See Compl., at ¶ 16 (describing De La Fuente’s “reli[ance] on Ms. Dacey’s promises”).

Subjective reliance by one party alone, unjustified by the objective circumstances of the

communication, does not create a contract between the parties.

       The lack of any agreement is further demonstrated by Plaintiffs’ implausible account as

to how they manifested their intention to be bound. Plaintiffs allege that they agreed to be bound

by a contract with a party with whom they had never communicated, and without knowing

whether they would receive any benefit in return, stating that Plaintiffs agreed to be bound to



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“conditions, rules and regulations” “[u]pon registering and qualifying as a national presidential

Democratic candidate” in October 2015. Id. at ¶¶ 9-10, 39. Yet, Plaintiffs do not state that they

ever even communicated with the DNC before De La Fuente allegedly accepted unidentified

“terms and conditions” by declaring his candidacy. See id. To the contrary, the Complaint alleges

that it was only after Plaintiffs claim to have agreed to be bound by the DNC’s unspecified

“rules and regulations” that they reached out to the DNC. Id. at ¶ 13. It is simply not plausible

that Plaintiffs manifested an intent to be bound when De La Fuente declared his candidacy

before having any communications with the DNC about the same, and the Complaint does not

allege any objective manifestation of the Plaintiffs’ intention to be bound after that point. 8
       The absence of the DNC’s agreement to any implied contract is also evidenced by

Plaintiffs’ acknowledgment that the DNC customarily provides the information Plaintiffs sought

to all “candidates contending for the party’s presidential nomination,” evidencing the gratuitous

nature of the offer. Id. at ¶ 58. Courts have held that gratuitous promises are not contractually

enforceable, because they lack consideration. See, e.g., Rafferty v. NYNEX Corp., 744 F. Supp.

324, 330-31 (D.D.C. 1990) (holding defendant made gratuitous promise where it “did not ask

[the plaintiff] to do anything in return for the promise, and [the plaintiff] made no offer to do

so”) aff’d, 60 F.3d 844 (D.C. Cir. 1995); Zoob v. Jordan, 841 A.2d 761, 765 (D.C. 2004) (“[A]

mere promise to make a gift is unenforceable”); Ladd v. Chemonics Int’l, Inc., 603 F. Supp. 2d

99, 120 (D.D.C. 2009) (determining that a “mere promise to pay” a former employee lacked

consideration and thus constituted an “unenforceable gratuitous promise” under D.C. law);


8
  The fact that Plaintiffs do not allege any writing memorializing an agreement, when—as the
Complaint acknowledges—the DNC commonly used written, formal contracts to memorialize its
agreements, including with presidential candidates, Compl., at ¶ 74, also makes Plaintiffs’
allegations implausible on their face. See Vereen, 623 A.2d at 1193 (holding that, while an
implied contract does not require all contract elements to be committed to writing or stated orally
in express terms, it must be inferable “from the conduct of the parties’ in the milieu in which
they dealt”) (citation omitted); Strauss, 5 A.3d at 1036 (holding that, while the absence of a
written contract is not dispositive, “it [c]asts doubt on whether the parties agreed to all of the
material terms and agreed to be bound by any agreement,” and raises serious questions as to why
sophisticated parties engaged in a complex transaction did not clarify in writing “the subject
matter, scope, duration, and terms of the agreement”).



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Haney v. Marriott Int’l, Inc., No. 05-2501 (JDB), 2007 WL 2936087, at *9 (D.D.C. Oct. 9, 2007)

(concluding patron injured at hotel did not tender anything in exchange for hotel’s “alleged

promise to pay [the patron’s] medical costs,” rendering promise an “unenforceable gratuitous

promise”).

               c.      Plaintiffs Fail to Plausibly Allege Facts that Satisfy the Other
                       Necessary Elements of an Implied Contract under District of
                       Columbia Law.
       Even assuming that Plaintiffs could establish that the parties agreed to all material terms

of the purported contract and intended to be bound (which they clearly cannot), they fail to allege

facts sufficient to establish the other essential elements of an implied contract claim under

District of Columbia law. Plaintiffs fail to plead facts that plausibly show that: (1) valuable

services were rendered, (2) for the DNC, (3) which services were accepted by the DNC, used and

enjoyed by it, and (4) under circumstances that reasonably notified the DNC that Plaintiffs

expected to be paid (or given something in return) by the DNC. See Perles, 362 F. Supp. 2d at

198 (citing Vereen, 623 A.2d at 1193). The absence of just one of these elements is fatal to an

implied breach of contract claim. See Jordan Keys & Jessamy, LLP v. St. Paul Fire & Marine

Ins. Co., 870 A.2d 58, 62 (D.C. 2005).

       First, the Complaint does not plausibly allege that Plaintiffs rendered any valuable

services to the DNC or that the DNC accepted or used such services. To the extent that Plaintiffs

believe that “accept[ing] and specifically rel[ying]” on the DNC’s unspecified “conditions, rules

and regulations,” Compl. at ¶ 38, constituted a valuable service to the DNC, the Complaint sets

forth no facts indicating what those conditions or rules were, whether Plaintiffs abided by them,

and, if so, whether and how abiding by such conditions or rules was valuable to the DNC. To the

contrary, the Complaint alleges the opposite—that the DNC believed that De La Fuente’s

candidacy “threatened to siphon critical votes away from Defendants’ favored Caucasian

candidate, Hillary Clinton,” Compl., at ¶¶ 2-3, and it thus “marginalize[d] Plaintiff De La Fuente

to benefit the campaign of Hillary Clinton” id. at ¶ 53. Assuming that the DNC in fact held such

views (which the DNC strongly and unequivocally denies), it cannot follow that it



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simultaneously used and enjoyed services provided by De La Fuente’s campaign. See Berry Law

PLLC v. Kraft Foods Grp., Inc., No. CV 13-0475 (RBW), 2013 WL 12061613, at *4 (D.D.C.

Dec. 11, 2013) (no implied contract where plaintiff had not shown “some tangible benefit

received” by defendant).

       Plaintiffs’ implied contract claim is also facially inadequate, because Plaintiffs fail to

allege that they notified the DNC that Plaintiffs expected to receive consideration for the services

that they purportedly provided to the DNC. Plaintiffs allege no facts suggesting that Plaintiffs

expected consideration for abiding by the DNC’s “conditions, rules and regulations”—let alone

that Plaintiffs reasonably notified the DNC of their expectation. See e.g., Bloomgarden v. Coyer,

479 F.2d 201, 209 (D.C. Cir. 1973) (finding no implied contract where, even if plaintiff “looked

forward to personal payment for his services,” the circumstances under which he performed such

services did not “reasonably … put [defendants] on notice that he had that in mind”).

       Finally, nothing about Plaintiffs’ inquiry as described would give the DNC reasonable

notice that Plaintiffs were in fact “accept[ing]” a “condition precedent for entering the

Democratic Party Presidential nominating process” in exchange for the DNC’s provision of

valuable resources to Plaintiffs. Compl., at ¶ 54. The description of their correspondence makes

absolutely no mention of the unspecified “terms and conditions” that were allegedly being

provided to the DNC as a valuable service. Compl., at ¶ 54. In sum, because Plaintiffs fail to

plausibly allege that they rendered valuable services to the DNC, or that the DNC accepted those

services with reasonable notice that Plaintiffs expected to be compensated for them, Plaintiffs

have failed to plead the existence of an implied contract.

               d.      Courts Regularly Hold Similar Claims Not Actionable, Consistent
                       with First Amendment Jurisprudence.
       Courts that have had the opportunity to consider the viability of breach of contract claims

between candidates and political parties have had no difficulty holding that a political party’s

relationship or standard communications with a primary candidate does not create a contract

under the law. See, e.g., Swanson v. Pitt, 330 F. Supp. 2d 1269, 1284 (M.D. Ala. 2004); Steele v.




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Johnson, 458 P.2d 889, 891 (Wash. 1969) (affirming dismissal of primary candidate’s breach of

contract claim, finding no valid contract between the candidate and party). For example, in

Swanson v. Pitt, the court rejected the plaintiff’s argument that a primary candidate’s “telephone

conversations with the [political] party,” “his payment of a qualifying fee,” and the party’s

actions in “answer[ing] his questions and sen[ding] him qualifying papers to fill out” created a

contract as a matter of law. Pitt, 330 F. Supp. 2d at 1284. This Court should reach the same

conclusion.

       Courts have also rejected allegations similar to those that Plaintiffs now make regarding

the DNC’s Charter, finding that “[a] constitution and by-laws [of a political party] are mere rules

for the regulation of the conduct of members in their association and conducive to the orderly

administration of the business which unites them,” and “[t]hey can be given no other binding

force.” McKane v. Adams, 123 N.Y. 609, 613-14 (1890); see also Berg v. Obama, 574 F. Supp.

2d 509, 529 (E.D. Pa. 2008) (finding “statements of principle and intent” in political party

platform are “not enforceable promises under contract law”), aff’d, 56 F.3d 234 (3d Cir. 2009);

St. John’s United Church of Christ v. FAA, 550 F.3d 1168, 1170 (D.C. Cir. 2008) (holding “a

political promise [has] no legal force whatsoever”).

       These outcomes are consistent with the U.S. Supreme Court’s long-standing

jurisprudence recognizing and “vigorously affirm[ing] the special place the First Amendment

reserves for, and the special protection it accords, the process by which a political party

‘select[s] a standard bearer who best represents the party’s ideologies and preferences.’” Cal.

Democratic Party v. Jones, 530 U.S. 567, 575 (2000) (quoting Eu v. San Francisco Cty.

Democratic Cent. Comm., 489 U.S. 214, 224 (1989)) (emphasis added). “Freedom of association

means not only that an individual voter has the right to associate with the political party of her

choice, but also that a political party has a right to ‘identify the people who constitute the

association.’” Eu, 489 U.S. at 224 (quoting Tashjian v. Republican Party of Conn., 479 U.S. 208,

214 (1986)); see also Jones, 530 U.S. at 574 (“[A] corollary of the right to associate is the right

not to associate.”); Democratic Party of U. S. v. Wis. ex rel. La Follette, 450 U.S. 107, 122



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(1981) (“[t]he freedom to associate for the ‘common advancement of political beliefs’ [ . . . ]

necessarily presupposes the freedom to identify the people who constitute the association, and to

limit the association to those people only.”) (citation omitted).

        Allowing Plaintiffs’ claims to go forward would raise serious First Amendment concerns.

Specifically, Plaintiffs ask the Court to find it plausible that any self-declared candidate is

entitled to “formalities, resources, logistical guidance, [] information,” “general political

assistance,” contractual duties stemming from the Charter—and more, from a political party,

solely based upon a candidate’s unilateral action of filing paperwork with the FEC, stating his

intention to seek that party’s nomination for President, and requesting the party’s internal

documents. The Court should reject this invitation. Under Plaintiffs’ theory, a political party

organization that failed to provide such benefits would be found to have breached an implied

contract or quasi-contractual relationship between the candidate and the political party

organization, and the political party therefore would owe the candidate damages in the amount of

all amounts expended by the candidate on the candidate’s campaign. Such a cause of action

could be used to severely burden parties’ associational rights. Candidates openly hostile to a

party’s values, or candidates with no support among a party’s members, could wield the threat of

a lawsuit to enforce an implied contract to coerce that party into providing them resources and

lending them legitimacy. The availability of such a cause of action would directly undermine the

ability of a political party to select and support its standard bearers in violation of the party’s

First Amendment rights. See Jones, 530 U.S. at 575. For these additional reasons, Plaintiffs’

claims should be dismissed with prejudice.

        2.       Plaintiffs Fail to Plausibly Allege that the DNC Breached Any Contract.
        Even if the Complaint plausibly alleged that an implied contract existed between

Plaintiffs and the DNC, the Court should still dismiss Plaintiffs’ breach of contract claim,

because there are no plausible allegations that the DNC breached an express or implied covenant

of the purported implied contract. Plaintiffs allege that the DNC breached two distinct implied

covenants purportedly contained in the parties’ implied contract: (1) an “implied covenant of



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neutrality”; and (2) an implied covenant of good faith and fair dealing. Compl., at ¶¶ 57, 72, 88-

95. However, Plaintiffs fail to state a claim for breach under any of these theories.

       First, as a matter of law, Plaintiffs’ claim for breach of an “implied covenant of

neutrality” should be dismissed, because it is not recognized by the District of Columbia courts.

See Kerrigan v. Britches of Georgetowne, Inc., 705 A.2d 624, 627 n.2 (D.C. 1997) (construing

plaintiff’s claims regarding an implied covenant never recognized in the District of Columbia as

claims regarding the implied covenant of good faith and fair dealing). Plaintiffs’ references to

such an implied covenant are, at best, a mislabeling of the implied covenant of good faith and

fair dealing. For the reasons that follow, however, Plaintiffs cannot sustain that claim, either.

       Second, Plaintiffs’ breach of contract claim based on violation of a “covenant of

neutrality,” set forth in the parties’ implied contract fails, because, as set forth above, there was

no such implied contractual obligation and no plausible and non-conclusory allegations of a

breach. See Willmott v. Nat’l R. Passenger Corp., No. 81-0811 JGP, 1991 U.S. Dist. LEXIS

1208, *19 (D.D.C. Jan. 31, 1991) (“Where no contract existed, there can be no breach of

contract.”). Further, Plaintiffs fail entirely to plausibly allege how any such agreement injured

them, which is required for standing purposes, as discussed supra.

       Third, Plaintiffs’ claim for breach of the implied covenant of good faith and fair dealing

should also be dismissed, because there are no allegations plausibly suggesting that the DNC

ever agreed to provide “logistical assistance,” “guidance,” “resources” or to “endorse” De La

Fuente, allow him to participate in events, facilitate ballot access beyond providing information,

or provide De La Fuente access to the Voter File. See discussion supra. Moreover, reasonable

persons in the parties’ shoes would not have expected the DNC to provide such benefits,

especially where De La Fuente concedes that at least some of what he sought—e.g., “invitation

to certain specific debates and town hall meetings”—“were contingent on objective factors,”

specifically, “required polling thresholds,” that he does not allege he met. Compl. at ¶ 53; see

also Brown v. Sessoms, 774 F.3d 1016, 1025 (D.C. Cir. 2014) (holding defendant did not breach

covenant of good faith and fair dealing by failing to do something that he had no obligation to



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do); see also id. (explaining a party breaches the implied covenant of good faith and fair dealing

if it “evades the spirit of the contract, willfully renders imperfect performance, or interferes with

performance by the other party to the contract[;]” no breach may be found when ‘reasonable

persons in parties’ shoes would have expected contract to be performed as it was’) (internal

quotation marks and citations omitted).

B.     Count II (Promissory Estoppel) Should Be Dismissed.
       Plaintiffs’ promissory estoppel claim should be dismissed, as the Complaint alleges no

facts that plausibly suggest that the DNC made any promise that could support such a claim. To

establish a claim for promissory estoppel, a plaintiff must show: “(1) a promise; (2) that the

promise reasonably induced reliance on it; and (3) that the promisee relied on the promise to his

detriment.” Myers v. Alutiiq Int’l Sol., LLC, 811 F. Supp. 2d 261, 272 (D.D.C. 2011) (citing

Simard v. Resolution Trust Corp., 639 A.2d 540, 552 (D.C. 1994)). While a promise need not be

as specific and definite as a contract for purposes of promissory estoppel, it must contain definite

and specific terms. Id. (citing In re U.S. Office Prods., 251 F. Supp. 2d at 72).

       Here, Plaintiffs fail to allege a promise sufficient to support a claim for promissory

estoppel. First, the allegations that the DNC made “promises” to provide: (1) “assistance to in

the form of introductions to State Party/committee officials”; (2) logistical resources”; and (3)

“general political assistance,” Compl., at ¶ 102, do not plausibly allege a promissory estoppel

claim, because they are not definite or specific. See Myers, 811 F. Supp. 2d at 272 (requiring “a

promise with definite terms” for a claim of promissory estoppel); In re U.S. Office Prods., 251 F.

Supp. 2d at 72 (holding promissory estoppel unavailable for “vague and indefinite” “promise”).

De La Fuente’s asserted reliance on statements by Congresswoman Wasserman Schultz are not

even “promises” but public statements the Congresswoman made in an interview. Compl. at

¶¶ 36-37. The Complaint cites her statements that “[t]he Democratic National Committee

remains neutral,” and “I remain, as I have been from the beginning, neutral.” Id. at ¶ 37. Putting

aside the fact that, as discussed, Plaintiffs fail to plausibly allege that the Defendants did not in

fact act neutrally in the primary process, these allegations are, on their face, too unclear and



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indefinite to support a claim for promissory estoppel. See Mero v. City Segway Tours of

Washington DC, LLC, 826 F. Supp. 2d 100, 106 (D.D.C. 2011). Similarly, to the extent that

Plaintiffs purport to have relied upon these vague and indefinite “promises,” such reliance would

have been unreasonable as a matter of law. See Myers, 811 F. Supp. 2d at 272 (dismissing

promissory estoppel claim “[b]ecause it is unreasonable to rely on an indefinite promise”) (citing

Parnigoni v. St. Columba’s Nursery Sch., 681 F. Supp. 2d 1, at 26 (D.D.C. 2010)).

       Second, the allegation that the DNC made a promise to Plaintiffs with its assertion that it

could make “introductions to State Party officials” also does not set forth a claim for promissory

estoppel, because the DNC would not reasonably have expected to induce action or forbearance

on behalf of Plaintiffs with this statement. Compl., at ¶ 15; see Granfield v. Catholic Univ. of

Am., 530 F.2d 1035, 1039 (D.C. Cir. 1976) (requiring “promise which the promisor should

reasonably expect to induce action or forbearance of a definite and substantial character on the

part of the promisee”) (citation omitted).

       Third, to the extent that Plaintiffs allege that there were more specific promises made by

the DNC, the Complaint fails to plausibly allege that the DNC actually made such promises to

Plaintiffs (as discussed supra in relation to Plaintiffs’ breach of contract claim). Indeed, the

Complaint only alleges a few specific instances in which the DNC purportedly denied De La

Fuente a benefit, resource, or service. Specifically, the Complaint alleges that the DNC (1) did

not “endorse” De La Fuente’s candidacy, thereby purportedly preventing him from gaining ballot

access in various states, id. at ¶¶ 45-47; (2) did not provide De La Fuente an opportunity to

license access to the DNC Voter File, id. at ¶ 61; and (3) withheld information about the location

of Nevada caucus sites. Id. at ¶ 46. 9 But Plaintiffs allege no facts plausibly suggesting that

Defendants ever promised to provide these specific benefits to Plaintiffs in the first place. The

only alleged source of any “promises” was “Ms. Dacey.” Id. at ¶ 15. However, the only

9
  Each of these specific allegations is against the DNC only; the only specific allegation directed
toward Congresswoman Wasserman Schultz is about a public statement made during television
and newspaper interviews that were not directed, nor could they be reasonably interpreted as
directed, to Plaintiffs. Id. at ¶¶ 36-37.



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communication alleged in the Complaint between Ms. Dacey and Plaintiffs concerns

“introductions to State Party officials,” “logistical resources,” and “general political

assistance”—not to “endorse” De La Fuente, not to provide him with an opportunity to license

the DNC’s proprietary Voter File, and not to provide him with information about where the

Nevada caucus sites were located (information that, in any event, was public, see e.g., Frost

Decl., Ex. D, Press Release, Nevada Democrats, NV Dems Announce Locations, Guidelines for

At-Large Precinct Caucuses on Las Vegas Strip (Jan. 29, 2016)). Accordingly, Plaintiffs’

promissory estoppel claim cannot be sustained.

C.     Count III (Section 1981) Should Be Dismissed.
       Plaintiffs’ Section 1981 claim should be dismissed because the Complaint does not

plausibly allege that Defendants intentionally discriminated against Plaintiffs in the making of a

contract. Section 1981 prohibits intentional racial discrimination in the “making, performance,

modification, and termination of contracts, and the enjoyment of all benefits, privileges, terms

and conditions of the contractual relationship.” 42 U.S.C. § 1981(b). To state a claim under

Section 1981, a plaintiff “‘must allege that (1) the plaintiff is a member of a racial minority; (2)

the defendant intended to discriminate against the plaintiff on the basis of race; and (3) the

discrimination concerned an activity enumerated in § 1981.’” Morris v. Carter Glob. Lee, Inc.,

997 F. Supp. 2d 27, 37 (D.D.C. 2013) (quoting Mazloum v. D.C. Metro. Police Dep’t, 522 F.

Supp. 2d 24, 37 (D.D.C. 2007)). Plaintiffs’ Section 1981 claim cannot be sustained as a matter of

law because: (1) Plaintiffs fail to plausibly allege an implied contract, on which the DNC failed

to perform; and (2) Plaintiffs do not plausibly allege that the DNC failed to enter into a contract

with Plaintiffs, or failed to perform an implied contract with Plaintiffs, because of De La

Fuente’s race.

       1.        Plaintiffs Fail to Plausibly Allege the Existence of an Implied Contract.
       Plaintiffs’ Section 1981 claim first fails because there are no plausible allegations of an

implied agreement between the DNC and Plaintiffs, or between the DNC and any other

candidate, based on the theories set forth in the Complaint. Section 1981 claims of the type



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Plaintiffs allege require the existence of a contractual agreement or proposed contract involving

the defendant. See Burnett v. Sharma, 511 F. Supp. 2d 136, 141 (D.D.C. 2007); see also

Domino’s Pizza, Inc. v. McDonald, 546 U.S. 470, 476 (2006) (stating Section 1981 provides

plaintiffs with relief “when racial discrimination blocks the creation of a contractual

relationship, as well as when racial discrimination impairs an existing contractual relationship,

so long as the plaintiff has or would have rights under the existing or proposed contractual

relationship”) (emphasis added); see also Compl., at ¶¶ 114-15.

       Here, Plaintiffs’ Section 1981 claim fails because the Complaint does not plausibly allege

that an implied contractual relationship existed between the Plaintiffs and the DNC, or between

the DNC and any other candidate for President, based on the theories it sets forth. As described

above, Plaintiffs’ theories are that: (1) non-specific and routine communications between any

and all primary candidates and a political party establish an implied contract between each

candidate and the party; and (2) the DNC’s Charter, on its own, creates an implied agreement

between a primary candidate and a political party. Id. But as discussed supra, Plaintiffs fail to

plausibly allege that an implied contract ever existed between the parties on these bases. See also

Miller v. Bridgeport Bd. of Educ., No. 3:12-CV-01287 VLB, 2014 WL 1117790, at *2–*3 (D.

Conn. Mar. 19, 2014) (analyzing whether plaintiff plausibly alleged an implied contract under

state common law to determine whether plaintiff plausibly alleged rights under an existing

contract for purposes of Section 1981). Plaintiffs’ Section 1981 claim accordingly fails.

       2.       Even if Plaintiffs Adequately Alleged the Existence of an Implied Contract,
                Plaintiffs Fail to Plausibly Allege Racial Discrimination.
       Even assuming arguendo that Plaintiffs alleged an implied contract between Plaintiffs

and the DNC, their Section 1981 claim would still fail because Plaintiffs have not plausibly

alleged that De La Fuente’s race was the reason why any alleged contractual benefit was denied

to him. A plaintiff must allege some facts that demonstrate that his race was the reason for the

defendant’s action to allege a Section 1981 claim. Morris, 997 F. Supp. 2d at 37 (quoting Bray v.

RHT, Inc., 748 F. Supp. 3, 5 (D.D.C. 1990)) aff’d sub nom. Bray v. Hebble, 976 F.2d 45 (D.C.




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Cir. 1992); Mesumbe v. Howard Univ., 706 F. Supp. 2d 86, 92 (D.D.C. 2010) (holding

complaint’s failure to indicate who allegedly received preferential treatment supports dismissal

for failure to allege a discriminatory motive). Merely invoking one’s race is not enough. Bray,

748 F. Supp. at 5 (“In order to pursue a cause of action under § 1981, plaintiff cannot merely

invoke his race in the course of a claim’s narrative and automatically be entitled to pursue

relief.”).

        Here, none of the facts alleged in the Complaint plausibly suggest that the DNC denied

any contractual benefits to Plaintiffs because of race. Specifically, Plaintiffs allege that De La

Fuente was denied: (1) access to the South Carolina presidential primary ballot, see Compl., at

¶ 111; (2) information about where Nevada’s caucuses were being held, id. at ¶ 112; (3) equal

access to information, debates, party events and meetings, and logistical campaign information,

id. at ¶ 113; and (4) access to the DNC’s Voter File, id.

        None of these allegations support a racially discriminatory motive on behalf of the DNC.

As an initial matter, De La Fuente’s attempt to assert a racial discrimination claim based on his

assertion that he was wrongfully denied access to the South Carolina presidential primary ballot

should be denied on the grounds of issue preclusion. A federal district court in South Carolina

previously granted the state Democratic party summary judgment on De La Fuente’s claims that

he was wrongfully denied access to that ballot, including specifically on a claim that he was

denied access on the basis of his race. See generally De La Fuente, 2017 WL 3085750. To the

contrary, the court found both that the decision not to put De La Fuente’s name on the ballot was

rational, because, inter alia, “[i]t is undisputed that [he] had no actual, non-electronic presence in

South Carolina,” and even then, his only contact with the state was “through a Facebook page—

one not even directed specifically at South Carolina, but a general campaign page,” id. at *3; he

“testified at deposition [that] he had only been to South Carolina four times in conjunction with

his 2016 presidential campaign--two of which were his court and deposition appearances for this

case”; id.; he “conceded he had no endorsements by elected officials or clergy in South Carolina

and did not distribute any printed campaign materials in South Carolina,” id.; and De La Fuente



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was unable to point to a single news article that “indicate[d] [he] was actually a viable candidate

for President,” id. at *4. The court also expressly rejected De La Fuente’s argument that he was

denied access to the ballot because of the purported “‘political and electoral threat that plaintiff’s

Hispanic heritage posed to Hillary Clinton,’” id. (quoting plaintiff’s brief), finding that De La

Fuente “offer[ed] no factual support for this claim other than an assertion in his deposition [that]

SCDP discriminated against him because he is Hispanic, and offers as evidence the prior

outcomes of elections.” Id. Finding this clearly insufficient to succeed on this claim, the court

granted summary judgment to the SCDP on this basis as well. Id. Thus, the issue of whether

discrimination played a part in the exclusion of De La Fuente from the South Carolina ballot has

already been decided against Plaintiffs; he may not now attempt to relitigate that judgment in this

court. See, e.g., Sheppard v. District of Columbia, 791 F. Supp. 2d 1, 5 (D.D.C. 2011).

       As for De La Fuente’s claims specifically related to the Nevada Democratic Party, as

previously discussed, information about where Nevada caucus sites were located was public

information. See, e.g., Frost Decl., Ex. D. Thus, it is far from clear exactly what it is that De La

Fuente believes he was denied as it relates to the locations of these caucuses, but in any event,

these allegations plainly do not support a claim of racial discrimination.

       As for his conclusory claims that he was denied equal access to events, the Complaint

acknowledges that invitations events were “contingent on objective factors,” and further admits

that De La Fuente did “not meet the required polling thresholds necessary to require Defendant

DNC to invite Plaintiff De La Fuente to the important debates and town hall meetings.” Id. at

¶ 53. Plaintiffs also do not set forth specific, non-conclusory facts that similarly situated white

candidates—for example, those who received the same number of votes or roughly the same

level of support in polls—acquired the benefits to which De La Fuente claims he was entitled.

The Complaint’s wholly conclusory assertions that the DNC provided benefits to “similarly

situated White presidential candidates,” Compl., at ¶ 48, see also id. at ¶ 116, do not satisfy the

motion to dismiss standards. Id. at ¶ 116; see Pender v. Bank of Am. Corp., No. 3:05-CV-00238-

GCM, 2016 WL 7320894, at *5 (W.D.N.C. Dec. 15, 2016) (concluding that “whether the



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declarant is a ‘qualified person’ is a legal conclusion, not a fact”); St. Croix v. Genentech, Inc.,

No. 8:12-cv-891-T-33EAJ, 2012 WL 2376668, at *3 (M.D. Fla. June 22, 2012) (holding the

allegation that “numerous individuals who were similarly situated” was “a legal conclusion that

does not satisfy Twombly and Iqbal pleading standards”); see also Iqbal, 556 U.S. at 678 (citing

Twombly, 550 U.S. at 555) (holding bare bones assertions of legal conclusions will not suffice).

       For each of these reasons, Plaintiffs’ Section 1981 claim must be dismissed.

D.     Count IV (Section 1985) Should Be Dismissed.
       Plaintiffs’ Section 1985 claim should be dismissed, because the Complaint fails to

plausibly allege a conspiracy on behalf of the DNC. Plaintiffs purport to assert a civil conspiracy

claim against the DNC under 42 U.S.C. § 1985, which creates liability for several, distinct types

of conspiracies:

       Section 2 . . . prohibits conspiracies to interfere with the performance of duties by
       federal officers (§ 1985(1)), with the administration of federal courts (§ 1985(2),
       first part), with the administration of state courts (§ 1985(2), second part), with
       the duties of a state officer (§ 1985(3), second clause), and with the right to
       support candidates in a federal election (§ 1985(3), third clause).
United Bhd. of Carpenters & Joiners of Am., Local 610 v. Scott, 463 U.S. 825, 839 n.1 (1983)

(Blackmun, J. dissenting); see also Bretz v. Kelman, 773 F.2d 1026, 1027 n. 3 (9th Cir. 1985).

       As an initial matter, the Complaint does not specify which type of Section 1985 civil

conspiracy Plaintiffs intend to assert. Instead, the Complaint paraphrases different parts of the

statute and does not clearly distinguish between, or state a claim based on, any one of the

different types of civil conspiracy that the Act may support. That said, it appears most likely that

Plaintiffs intend to bring a claim under Section 1985(3). 10


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  Even if Plaintiffs intended to bring a claim under Section 1985(1), their claim would fail
because there are no allegations that De La Fuente was ever elected President (or to any other
federal office). Section 1985(1) is intended to protect current and incoming “federal officers
against interference from persons outside the federal government.” Pope v. Bond, 641 F. Supp.
489, 497 (D.D.C. 1986) (emphasis added); see also United Bhd. of Carpenters, 463 U.S. at 839
n.1 (Blackmun, J., dissenting) (stating Section 1985(1) “prohibits conspiracies to interfere with
the performance of duties by federal officers”); Bretz, 773 F.2d at 1027 n.3 (stating Section
1985(1) “concerns preventing an officer of the United States from performing his or her duties”).



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       Section 1985(3) states:
       If two or more persons in any State or Territory conspire, or go in disguise on the
       highway or on the premises of another, [(1)] for the purpose of depriving, either
       directly or indirectly, any person or class of persons of the equal protection of the
       laws, or of equal privileges and immunities under the laws, or [(2)] for the
       purpose of preventing or hindering the constituted authorities of any State or
       Territory from giving or securing to all persons within such State or Territory the
       equal protection of the laws; or [(3)] if two or more persons conspire to prevent
       by force, intimidation, or threat, any citizen who is lawfully entitled to vote, from
       giving his support or advocacy in a legal manner, toward or in favor of the
       election of any lawfully qualified person as an elector for President or Vice-
       President, or as a member of Congress of the United States; or to injure any
       citizen in person or property on account of such support or advocacy.
       Based on the text, each clause of Section 1985(3) requires a conspiracy, which involves

an agreement to take part in an unlawful action. Morris, 997 F. Supp. 2d at 39. In particular: (1)

the first clause of Section 1985(3) creates liability for conspiracies initiated by private parties to

deny protected persons or classes equal protection under the law, by preventing them from

equally exercising their civil rights; (2) the second clause of Section 1985(3) creates liability for

conspiracies that have the purpose of preventing or hindering State authorities from giving or

securing equal protection of the law to all persons within such State; and (3) the third clause

creates liability for conspiracies pertaining to the right to support candidates in a federal election.

       Plaintiffs’ Section 1985(3) claim should be dismissed because there are no plausible

allegations in the Complaint that the DNC was involved in any conspiracy, much less one that
could satisfy the required elements of the statute. In the Complaint, Plaintiffs appear to infer that

the DNC somehow conspired with state Democratic Party officials to “hamper, impede and

sabotage” De La Fuente’s campaign. Compl., at ¶ 121. In support of this claim, Plaintiffs cite to

actions taken by non-DNC entities that allegedly hampered his presidential bid: (1) the Nevada

Democratic Party’s “refus[al] to provide Plaintiffs with the location of the caucus sites,

preventing Plaintiff from being able to complete [sic] in the caucus,” characterized as the result

of the DNC’s failure to “endorse” or “sanction” De La Fuente’s candidacy, id. at ¶¶ 43-44; (2)

the South Carolina Democratic Party’s denial of De La Fuente’s access to “the key early South




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Carolina Democratic Presidential Primary election ballot,” allegedly attributable to the DNC’s

alleged “failure to provide promised introductions,” id. at ¶ 52; and (3) De La Fuente’s inability

to meet certain “objective factors, such as previous polling results” that would have garnered an

invitation to “specific debates and town hall meetings,” which he attributes to the DNC’s

purported effort to “marginalize” Plaintiffs, id. at ¶ 53. These vaguely alleged “conspiracies”

belies the Complaint’s failure to attribute any action that “hampered” or “injured” his campaign

to the DNC itself. Further, and as discussed supra, the Nevada caucus information was publicly

available, a federal district court judge has previously rejected De La Fuente’s arguments that his

exclusion from the presidential primary ballot in South Carolina was somehow improper, and De

La Fuente himself acknowledges that he did not meet the objective thresholds for participating in

specific types of party events.

       Nor can any of the other various actions that the Complaint alleges the DNC (and others)

took plausibly be construed as unlawful, which is required for a Section 1985(3) claim. For

example, Plaintiffs allege that the DNC:

       •          “[O]n information and belief [ . . . ] communicat[ed] directly that Plaintiff De
                  La Fuente was not an ‘endorsed’ or ‘sanctioned’ candidate’” with State
                  Democratic Party Committee members and officials,” Compl., at ¶ 47;

       •          “[F]ailed to introduce Plaintiff De La Fuente to political leadership of the
                  [s]tate [sic] Democratic Party committees,” id. at ¶ 50;

       •          Did not arrange for De La Fuente to obtain access to debates and town halls,
                  where invitation was contingent on meeting “objective factors,” id. at ¶ 53;

       •          Did not provide De La Fuente an opportunity to license DNC Voter File Data,
                  id. at ¶¶ 60-62; and

       •          Entered into a joint fundraising agreement with one of the primary candidates,
                  id. at ¶ 74.
       No law: (1) discusses any process for or requires the DNC to “sanction” or “recognize” a

candidate; (2) requires a political party to provide publicity for a candidate; (3) requires a

political party to put certain candidates on stage or permit them to attend events; (4) requires a




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political party to give any candidate information or data; or (5) bars political parties from

entering into certain contracts. Nor does any law prevent the DNC from communicating to other

persons or entities that the DNC does not “recognize” or “sanction” a particular candidate. To the

contrary, a political party’s decision not to associate itself with or engage in advocacy activities

on behalf of a particular candidate is a core component of its associational rights. See, e.g.,

Jones, 530 U.S. at 574; La Follette, 450 U.S. at 122. Plaintiffs’ claim, in effect, would transform

a party organization’s decision to decline resources or services to a particular candidate (or to

communicate its non-endorsement of a particular candidate) into prima facie evidence of a

conspiracy to unlawfully interfere with the right of citizens to support that candidate in a

particular election.

       Even assuming arguendo that Plaintiffs could allege a conspiracy, their Section 1985(3)

claim—to the extent it is brought under the first clause of Section 1985(3)—would still fail,

because there are no plausible allegations in the Complaint that the DNC had the requisite

invidious discriminatory animus. In stating a claim under the first clause of Section 1985(3),

Plaintiffs must allege that the DNC acted with invidiously discriminatory animus against a

protected class. See Lattisaw v. D.C., 118 F. Supp. 3d 142 at 162 (D.D.C. 2015) (quoting

Atherton v. D.C. Office of Mayor, 567 F.3d 672, 688 (D.C. Cir. 2009)), aff’d, 672 F. App’x 22

(D.C. Cir. 2016). However, as discussed above, with respect to Plaintiffs’ Section 1981 claims,

the Complaint is devoid of any such plausible allegations. In fact, Plaintiffs do not even allege

invidious racial animus in the civil conspiracy count of their Complaint. See Compl., at ¶¶ 118-

124. Thus, any claim that the DNC violated clause one of Section 1985(3) should be dismissed.

        Further, Plaintiffs’ Section 1985(3) claim—to the extent it is brought under the second

clause—would still fail, because the Complaint fails to allege any facts plausibly suggesting that

the DNC was involved in any activity to prevent or hinder State authorities from giving or

securing equal protection of the law to all persons within such State. Though the second clause

of Section 1985(3), also known as the “hindrance” or “prevention” clause, is rarely litigated, and

the elements of a valid claim remain somewhat unclear, the plain text of the statute requires a



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conspiracy with the purpose of “hindering the constituted authorities of any State or Territory.”

42 U.S.C. § 1985(3); compare, e.g., Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263,

279-83 (1993) (majority op.) (declining to reach claim under hindrance clause and criticizing

elements of hindrance clause claim set forth in dissents), with id. at 291-307 (Souter, J.,

concurring in part and dissenting in part) (discussing elements of claim), and id. at 313-20, 339-

44 (Stevens, J., dissenting) (same), and id. at 355-356 (O’Connor, J., dissenting) (same); see also

id. at 283 n.15 (majority opinion) (assuming hindrance clause applies to conspiracies to hinder

one or more state officers); id. at 301 (Souter. J., dissenting) (“[The] prevention clause’s

distinctive requirement [is] that the purpose of a conspiracy actionable under its terms must

include a purpose to accomplish its object by preventing or hindering officials in the discharge of

their constitutional responsibilities.”). Here, Plaintiffs fail to plausibly allege that the DNC was

involved in any activity to prevent or hinder State authorities from giving or securing equal

protection of the law to all persons. No state authorities are mentioned in the Complaint and

there are no allegations that the DNC “[interfered] with [these] state officials” in depriving

Plaintiffs of equal protection of the law. Bray, 506 U.S. at 339.

       Finally, Plaintiffs’ Section 1985(3) claim—to the extent it is brought under the third

clause—also cannot be maintained, because the Complaint fails to allege any facts plausibly

suggesting that the DNC used force, intimidation, or threat to prevent citizens from supporting

De La Fuente’s candidacy. See Bretz, 773 F.2d at 1027 n. 3; United Bhd. of Carpenters, 463 U.S.

at 839 n. 1 (characterizing the claim as a conspiracy to interfere “with the right to support

candidates in a federal election”); 42 U.S.C. 1985(3) (requiring “prevent[ion] by force,

intimidation, or threat, [of] any citizen who is lawfully entitled to vote, from giving his support

or advocacy in a legal manner, toward or in favor of the election of any lawfully qualified

person”). Thus, the Court should dismiss Plaintiffs’ Section 1985 claim.

E.     Counts V & VI (Fraud and Negligent Misrepresentation) Should Be Dismissed.
       Plaintiffs’ fraud and negligent misrepresentation claims, virtually identical in substance

and form, should be dismissed because the Complaint’s allegations fail to even approach the



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heightened pleading standards required for claims sounding in fraud. Both of these claims are

subject to Rule 9’s stricter pleading requirements, which mandate that such claims be pled “with

particularity.” Lewis v. Full Sail, LLC, 266 F. Supp. 3d 320, 325 (D.D.2. 2017) (quoting Fed. R.

Civ. P. 9(b)). This requires that Plaintiffs “state the time, place and content of the false

misrepresentations, the fact misrepresented and what was obtained or given up as a consequence

of the fraud.” U.S. ex rel. Joseph v. Cannon, 642 F.2d 1373, 1385 (D.C. Cir. 1981) (citing 2A J.

Moore, Federal Practice P 9.03, at 9-20 to 9-24 (2d ed. 1980)). It also “require[s] pleaders to

identify individuals allegedly involved in the fraud.” U.S. ex rel. Williams v. Martin-Baker

Aircraft Co., 389 F.3d 1251, 1256 (D.C. Cir. 2004) (citation omitted). Neither claim as pled

meets this strict threshold.

       First, the Complaint fails to plausibly allege any of the required elements for either cause

of action, relying on the bare notice pleading that is regularly found insufficient to maintain these

types of claims beyond a motion to dismiss. To plead fraud, Plaintiffs must show (with

particularity) “(1) a false representation (2) in reference to material fact, (3) made with

knowledge of its falsity, (4) with the intent to deceive, and (5) action is taken in reliance upon the

representation.” Bennett v. Kiggins, 377 A.2d 57, 59 (D.C. 1977) (citation omitted). Rather than

plead these elements with specificity, the substance of the Complaint is a rote recitation of the

elements of a fraud claim: that the DNC (through third-parties) made vague false statements or

omissions of facts, intended to induce reliance, and Plaintiffs’ relied on them, causing injury.

Compl., at ¶¶ 126-32. Plaintiffs’ negligent misrepresentation count fails for the same reasons.

“[A] plaintiff alleging negligent misrepresentations or omissions must show ‘(1) that [the

defendant] made a false statement or omitted a fact that he had a duty to disclose; (2) that it

involved a material issue; and (3) that [the plaintiff] reasonably relied upon the false statement or

omission to his detriment.’” Sundberg v. TTR Realty, LLC, 109 A.3d 1123, 1131 (D.C. 2015)

(citation omitted). Yet, Plaintiffs again simply regurgitate these elements in conclusory fashion:

stating that the DNC made misrepresentations that it knew to be false, intending reliance, and

that Plaintiffs relied on them to their injury—without articulating the reasonableness of



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Plaintiffs’ purported reliance on the allegedly false statements. Bare and conclusory recitations

with no facts that make out a plausible claim for relief fail even Rule 8 standards; by definition

they do not meet Rule 9(b)’s stricter requirements. See Busby v. Capital One, N.A., 932 F. Supp.

2d 114, 139 (D.D.C. 2013).

       Second, as stated above, Plaintiffs’ Complaint only identifies one category of alleged

“false” statements by Defendants—“public declarations of neutrality and impartiality with

respect to the 2016 Democratic presidential nomination process,” Compl., at ¶ 40, and contained

in the DNC’s Charter and Bylaws. Id. at ¶ 10; see also id. at ¶ 38. However, as discussed, the

bases asserted in the Complaint for contending that these statements are false fall far short of

evidence that, even if believed, could sustain a finding that the DNC did not act neutrally in the

primary. See discussion supra. On this rationale alone, both counts are subject to dismissal.

       Third, Plaintiffs have not shown (and cannot show) that any reliance on statements of

general neutrality would have been justified as a matter of law. Reliance, just as every element in

a common law fraud claim, must be pleaded with particularity. See Busby, 932 F. Supp. 2d at

139 (dismissing plaintiff’s fraud claim where it was “conceivable” the plaintiff relied on

representations of the defendant, but she had not met “the more demanding pleading standard of

Rule 9(b)”). Plaintiffs’ fraud and negligent misrepresentation claims rest on the assertion that De

La Fuente relied upon statements of neutrality contained in the DNC Bylaws and Charter—or

stated by third parties—and as a result De La Fuente claims to have entered the 2016 presidential

contest to his alleged detriment. However, taken as true, such reliance would be patently

unreasonable. Reliance is unreasonable “if there was an adequate opportunity to conduct an

independent investigation and the party making the representation did not have exclusive access

to such information.” Baker v. Gurfein, 744 F. Supp. 2d 311, 319 (D.D.C. 2010) (citation

omitted).

       Though the DNC strongly denies that it was not neutral in the primary process, even

taking the Complaint’s allegations as true as is appropriate at the motion to dismiss stage,

Plaintiffs had sufficient opportunity prior to De La Fuente’s entry into the presidential race in



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October 2015 to investigate the process of participation in state presidential primaries and the

type and extent of support the DNC could provide. Equating statements of DNC neutrality with a

guarantee of unspecified and unlimited DNC logistical support and general campaign assistance

is unreasonable on its face. So, too, is equating statements of DNC neutrality with a guarantee of

Plaintiffs’ ultimate success in a presidential campaign. Thus, because Plaintiffs have not and

cannot show that their alleged reliance was reasonable, their fraud and misrepresentation claims

are both subject to dismissal. See Malek v. Flagstar Bank, 70 F. Supp. 3d 23, 31 (D.D.C. 2014)

(dismissing fraud claim where plaintiff failed to allege reasonable reliance); Green Leaf Nursery

v. E.I. DuPont De Nemours & Co., 341 F.3d 1292, 1304, 1306–07 (11th Cir. 2003) (affirming

dismissal of fraud and negligent misrepresentation claims where plaintiffs’ claimed reliance was

unreasonable); Garcia v. Santa Maria Resort, Inc., 528 F. Supp. 2d 1283, 1295 (S.D. Fla. 2007)

(dismissing negligent misrepresentation claims because plaintiffs’ reliance on defendants’ oral

misrepresentations was not reasonable). Further, Plaintiffs’ continued expenditures in the 2016

presidential campaign belie the suggestion that entry into the presidential race was reliant on the

DNC’s position, where De La Fuente pursued and received the Reform Party’s nomination in

August 2016. See Frost Decl., Ex. E, Richard Winger, Reform Party Nominates Rocky De La

Fuente for President, Ballot Access News (Aug. 9, 2016); see also Philip Morris USA, Inc.,

2004 WL 5355971, at *1 (finding court may take judicial notice of historical and political facts).

                                     V.      CONCLUSION
       For the reasons set forth above, Defendants respectfully request that their motion to

dismiss Plaintiffs’ Complaint be granted and this matter dismissed in its entirety, with prejudice.




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Dated: June 11, 2018                     Respectfully submitted,

                                         PERKINS COIE LLP


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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been sent via

the Court’s electronic notification system and first class U.S. mail to the following parties on

June 11, 2018:


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                                                  VIA ECF AND MAIL




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